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 6                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                              IN AND FOR THE COUNTY OF SKAGIT
 7
     Alicia VANDERWOUDE,individually,                    NO.
 8                                 Plaintiff,
                                                         COMPLAINT FOR PERSONAL INJURIES
 9   V.
10
     SAFEWAY Inc,
11                                          Defendant.

12                                               I.
                                      PARTIES AND JURISDICTION
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             1.       Plaintiff is a resident of Skagit County, WA.
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             2.      Defendant is a Company residing in Skagit County by definition of the law ofthe
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     State of Washington.
16           3.      This Court is the proper venue in which to adjudicate this Complaint as shown by
17   the facts set forth herein.

18           4.      This Court has personal jurisdiction over the parties.

19
                                                   FACTS
20           5.      On 1/12/2020, Plaintiff was injured in a fall on real property owned by Defendant.
21   Plaintiff lawfully entered the property to patronize the commercial establishment.

22           6.      The fall occurred in an area commonly used by Defendant's patrons.
             7.       Plaintiffs fall was caused by a defect in said common area which Defendant
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     failed to attend to.
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             8.      Plaintiff suffered injuries as a consequence of the fall, causing damages including,
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     but not limited to, the cost of medical treatment, pain, suffering and debility.
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                                                                                    JOSEPH D. BOWEN
     COMPLAINT Page I of 2
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 I                                                 CLAIM
 2          9.      Defendant is liable for all damages suffered by Plaintiff because it caused the

 3   injuries described above by failing to keep its premises safe for commercial invitees.
                                                 IV.
 4
                                          REQUEST FOR RELIEF
 5          WHEREFORE Plaintiff requests ajudgment of money damages in compensation for the
 6   losses alleged herein and proven at trial, together with an award of attorney's fees, costs, and

 7   such other relief as the Court deems equitable and just.

 8
            DATED THIS (4114 day of            .11)sC Q.. ,20         .

 9                                                 JOSEPH D. BOWEN,
                                                   ATTORNEY AT LAW,P.S.
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12                                                 Jose D. Bwen, WSBA #17631
                                                   Atto ey for Plaintiff
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     COMPLAINT Page 2 of 2                                                         JOSEPH D. BOWEN
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